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                 UNITED STATES v. RAMESH “SUNNY” BALWANI
                            No. 18-CR-00258-EJD
                         PROPOSED CASE SCHEDULE


            DATE                                        EVENT
Friday, January 22, 2021    Defendant shall serve a summary pursuant to Rule 16 for each
                            expert witness he intends to call at trial in the defendant’s
                            case-in-chief.
Friday, February 5, 2021    Defendant shall complete his Rule 16 disclosures other than
                            expert disclosures.
Wednesday, February 10,     The Government shall serve any supplement to its exhibit
2021                        and witness lists previously disclosed in the trial of
                            Elizabeth Holmes.

                            The Government shall identify any statement the Government
                            intends to offer under Federal Rule of Evidence 801(d)(2)(E).
Wednesday, February 10,     The Government shall serve a summary pursuant to Rule 16
2021                        for each expert witness that it intends to call at trial in rebuttal
                            to expert testimony offered by defendant Balwani.
Friday, February 12, 2021   Proposed jury instructions, juror questionnaire, and voir dire
                            questions due.
Friday, February 19, 2021   Motions in limine and motions relating to experts due.

Monday, March 1 , 2021      The parties shall file a pretrial conference statement
                            addressing the matters set forth in Local Rule 17.1-1. The
                            Government shall advise the Court that it has produced all
                            Brady and Giglio information in its possession and will
                            continue to produce any material the government
                            subsequently discovers.
Friday, March 5, 2020       Defendant shall serve witness and exhibit lists for the
                            defendant’s case-in-chief. Defendant shall complete
                            defendant’s production of witness statements pursuant to Rule
                            26.2.
Monday, March 8, 2021       Responses to motions in limine and motions relating to
                            experts due.
Monday, March 22, 2021      Replies in support of motions in limine and motions
                            relating to experts due.

Monday, April 5, 2021       Pretrial Conference
Tuesday, April 13, 2021     Jury Selection
Tuesday, April 20, 2021     First Day of Trial
